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           EXHIBIT “A”
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI-                        Master Docket: No. 21-mc-1230-JFC
LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                            MDL No. 3014
LITIGATION

This Document Relates to:

Personal Injury Claimants
and Potential Claimants


                    [PROPOSED] AMENDED IDENTIFICATION ORDER

        In accordance with the terms of the Master Settlement Agreement (“MSA”),1 the Court hereby

enters this Identification Order. This Order requires (i) all Primary Counsel for all Eligible Claimants,

and (ii) all Pro Se Eligible Claimants, to provide certain information within 30 days of this Order, i.e.,

no later than June 10,21, 2024 (the “Identification Order Deadline”).2

I.      IDENTIFICATION OF ALL ELIGIBLE CLAIMANTS

        Each counsel shall take any and all steps necessary by the Identification Order Deadline to

identify all Eligible Claimants for whom they are Primary Counsel, whether claims or potential

claims with respect to those Eligible Claimants have been filed in suit, asserted on the Census



1
       Terms not defined herein have the same meaning as in the MSA. The MSA is available
on the website of the Settlement Administrator, MDLCentrality.com/CPAP, and will be publicly
available at RespironicsPISettlement.com.
2
        As set forth in the MSA, Primary Counsel means (1) for any Eligible Claimant with a
Personal Injury Claim in the MDL, or participating in the Census Registry, the lawyer or law firm
listed as the registering Law Firm in MDL Centrality; (2) for any Eligible Claimant with a Personal
Injury Claim filed in state court, counsel of record for the Eligible Claimant; or (3) for any Eligible
Claimant with an unfiled Personal Injury Claim and who is not participating in the Census
Registry, counsel with an engagement or retainer agreement with such Eligible Claimant. Counsel
shall not be Primary Counsel for an Eligible Claimant if counsel’s representation of that Eligible
Claimant terminated prior to the Identification Order Deadline.
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Registry, or otherwise. Each Primary Counsel shall also submit the information set forth below

concerning all their Eligible Claimant clients by the Identification Order Deadline.

       Similarly, Pro Se Eligible Claimants, whether claims or potential claims with respect to

those Pro Se Eligible Claimants have been filed in suit, asserted on the Census Registry, or

otherwise, shall submit the information set forth below concerning their own claim(s) by the

Identification Order Deadline.

       Complete, accurate, and timely submission of this information is a requirement not only

of this Order but also to participate in the Settlement Program described in the MSA.

II.    SERVICE OF IDENTIFICATION ORDER DECLARATIONS IDENTIFYING
       ALL ELIGIBLE CLAIMANTS

       All counsel must submit an Identification Order Declaration via MDL Centrality, executed

under penalty of perjury, that identifies all of that counsel’s Eligible Claimants for whom they are

Primary Counsel and affirms under penalty of perjury that the Identification Order Declaration

includes all of the Primary Counsel’s Eligible Claimant clients.          The Identification Order

Declarations shall be in substantially the form set forth in Exhibit “A” attached hereto and shall

include in Excel format, for each Eligible Claimant, the following information:

              the name of the Eligible Claimant;

              the Eligible Claimant’s complete social security number;

              the address of the Eligible Claimant;

              the Eligible Claimant’s email address, if any;

              the Eligible Claimant’s date of birth;

              the Eligible Claimant’s Qualifying Injury;

              the docket number, if a case has been filed for the Eligible Claimant; and



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              the MDL Centrality Plaintiff ID number (if the Eligible Claimant has ever

               registered via MDL Centrality).

       Through the Identification Order Declarations, all Primary Counsel shall certify, under

penalty of perjury, that they have identified all Eligible Claimants for whom they serve as Primary

Counsel. That identification obligation applies (i) regardless of whether the Eligible Claimant

intends to participate in the Settlement Program set forth in the MSA, and (ii) regardless of whether

the Eligible Claimant’s claims or potential claims have been filed in suit, asserted on the Census

Registry, or otherwise.

       All Primary Counsel shall identify all Eligible Claimants they represent. Only Eligible

Claimants must be identified, and Primary Counsel shall not identify Ineligible Claimants (i.e.,

claimants alleging only Nonqualifying Injuries).

       Pro Se Eligible Claimants must submit an Identification Order Declaration, executed under

penalty of perjury, with the same information set forth above concerning their own claims or

potential claims. For all Pro Se Eligible Claimants, the Identification Order Declarations shall be

in substantially the form set forth in Exhibit “B” attached hereto.

       Technical Support is available from MDL Centrality by phone at (888) 361-0741 or by

email at MDLCentrality@browngreer.com.

       Counsel and Pro Se Eligible Claimants have an ongoing duty to update all of the information

required by this Order including, for example, when the personal information for an Eligible

Claimant is incorrect or outdated. Any updated information must be served within fourteen (14)

days of learning of such updated information, and shall be served through MDL Centrality.

       All Identification Order Declarations are hereby designated as “Confidential” under the

Amended Stipulated Protective Order entered in this matter (ECF No. 765). There is no need or



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requirement for the Identification Order Declarations to be separately marked as “Confidential” in

order for them to receive Confidential treatment under the Amended Stipulated Protective Order.

III.   DEADLINE AND COMPLIANCE

       Each Identification Order Declaration required under this Order shall be submitted via

MDL Centrality no later than the Identification Order Deadline. The timely submission of

complete and accurate Identification Order Declarations is critical to the effective administration

of the Settlement Program and to the Court’s management of its docket. Failure by Primary

Counsel or Pro Se Eligible Claimants to comply with the terms of this Order will be a violation and

shall be subject to sanctions, including sanctions of Primary Counsel.

       In the event any Primary Counsel or Pro Se Eligible Claimant fails to fully comply with

the requirements of this Order, Counsel for Defendants shall notify the Court of the alleged

violations, and the Court shall enter an Order to Show Cause why the Primary Counsel or Pro Se

Eligible Claimant should not be sanctioned. Said Primary Counsel or Pro Se Eligible Claimant

shall have 21 days to respond to the Order to Show Cause. If the Primary Counsel or Pro Se

Eligible Claimant fails to cure the violations or show good cause why they should not be sanctioned

within 21 days of the entry of the Order to Show Cause, the Court may impose appropriate

sanctions, including dismissal with prejudice, or other penalties on the Primary Counsel or Pro Se

Eligible Claimant.

       SO ORDERED, on this ___ day __________.




                                             Honorable Joy Flowers Conti
                                             Senior United States District Judge




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                           EXHIBIT “A”



               DECLARATION OF PRIMARY COUNSEL




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI-                     Master Docket: No. 21-mc-1230-JFC
LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                         MDL No. 3014
LITIGATION

This Document Relates to:

Personal Injury Claimants
and Potential Claimants


         IDENTIFICATION ORDER DECLARATION OF PRIMARY COUNSEL

       1.      My name is [INSERT NAME OF COUNSEL], and I am an attorney at [INSERT

NAME OF LAW FIRM].

       2.      On behalf of myself and my firm, I submit this Identification Order Declaration in

accordance with the Master Settlement Agreement (“MSA”) and the Court’s Identification Order.

       3.      Attached hereto is a chart that identifies all Eligible Claimants for whom I

or my firm are Primary Counsel, as defined in the MSA. I certify that this chart identifies all

Eligible Claimants for whom I or my firm are Primary Counsel. I understand that the obligation to

identify all Eligible Claimants for whom I or my firm are Primary Counsel applies regardless of

whether the Eligible Claimants intend to participate in the Settlement Program set forth in the

MSA. I also understand that this obligation applies regardless of whether the Eligible Claimant’s

claims or potential claims have been filed in suit, asserted on the Census Registry, or otherwise.

       4.      I understand that to comply with the MSA and the Court’s Identification Order, this

Identification Order Declaration must be submitted by the Identification Order Deadline, which is

30 days after the Court’s Identification OrderJune 21, 2024. The attached chart will be timely served

in Excel format through MDL Centrality in conformance with the Identification Order.

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       5.      I understand and agree that my failure to identify all Eligible Claimants for whom

I or my firm is Primary Counsel is a violation of the Identification Order and will result in sanctions

and other penalties as determined by the Court.

       I swear under penalty of perjury that the foregoing is true and correct.




 DATE: [MONTH] [DAY], [YEAR]                              /s/
                                                         [NAME OF COUNSEL]
                                                         [NAME OF LAW FIRM]
                                                         [ADDRESS]
                                                         [ADDRESS]
                                                         [ADDRESS]
                                                         [TELEPHONE NUMBER]
                                                         [EMAIL ADDRESS]




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                  IDENTIFICATION OF ELIGIBLE CLAIMANTS




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                           EXHIBIT “B”



           DECLARATION OF PRO SE ELIGIBLE CLAIMANT
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI-                     Master Docket: No. 21-mc-1230-JFC
LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                         MDL No. 3014
LITIGATION

This Document Relates to:

Personal Injury Claimants
and Potential Claimants


 IDENTIFICATION ORDER DECLARATION OF PRO SE ELIGIBLE CLAIMANT

       1.      My name is [INSERT NAME OF PRO SE ELIGIBLE CLAIMANT], and I am an

Eligible Claimant and not represented by counsel.

       2.      I submit this Identification Order Declaration in accordance with the Master

Settlement Agreement (“MSA”) and the Court’s Identification Order.

       3.      Attached hereto is a chart that identifies my personal information and the other

information required by the Identification Order. I certify that this information is accurate. I

understand that in submitting this Declaration, I am not making the determination of whether or

not to participate in the Settlement Program set forth in the MSA.

       4.      I understand that to comply with the MSA and the Court’s Identification Order, this

Identification Order Declaration must be submitted by the Identification Order Deadline, which is

30 days after the Court’s Identification OrderJune 21, 2024. The attached chart will be timely

served in Excel format through MDL Centrality in conformance with the Identification Order.

       5.      I understand and agree that my failure to provide the information required by the

Identification Order will result in sanctions and other penalties as determined by the Court.

       I swear under penalty of perjury that the foregoing is true and correct.

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DATE: [MONTH] [DAY], [YEAR]               /s/
                                          [NAME OF CLAIMANT]
                                          [ADDRESS]
                                          [ADDRESS]
                                          [ADDRESS]
                                          [TELEPHONE NUMBER]
                                          [EMAIL ADDRESS]




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                IDENTIFICATION OF PRO SE ELIGIBLE CLAIMANT




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